UNERED STATES DISTRIGT COURFPOR TA BRTRICE OF COLUMBIA

 

Hon. Bennie G. Thompson, in his personal capacity

Plaintiff
Case No.: 1:21-ev-00400-APM

vs,
Donald J, Trump, solely in his personal capacity, et al.

Defendant
AFFIDAVIT OF SERVICE

I, Dennis Norris, a Private Process Server, being duly sworn, depose and say:
That { have been duly authorized to make service of the Summons and Complaint in the above entitled case.
That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 04/19/2021 at 3:47 PM, I served Warboys LLC c/o Ethan M. Nordean at 32324 169 SE Avenue, Auburn, Washington
98092 with the Summons and Complaint by serving Ethan M, Nordean, authorized to accept.

Ethan M. Nordean is described herein as:

Gender: Male Race/Skin: White Age: 30 Weight: 220 Height: 6'0" Hair: Red Glasses: No

I declare under penalty of perjury that this information is true and correct,

 

Y-2Lt-reLy
Executed On [a] ifs) Dennis Norris
: Py Client Ref Number:N/A

a ace Job #: 1588757

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050

 

 
